                                       Case 3:17-cr-00093-WHA Document 670 Filed 05/31/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   UNITED STATES OF AMERICA,
                                  11                   Plaintiff,                             No. CR 17-00093

                                  12            v.
Northern District of California
 United States District Court




                                  13   BURTE GUCCI RHODES,                                    ORDER TO PROVIDE
                                                                                              MEMORENDUM ON INTENT
                                  14                   Defendant.                             TIMING REQUIREMENT
                                  15

                                  16         Both sides shall brief by Friday at noon the question of:

                                  17         Whether under 18 U.S.C. § 1958(a), which states “Whoever . . . uses or causes another . . .

                                  18   to use . . . any facility of interstate or foreign commerce, with intent that a murder be committed

                                  19   in violation of the laws of any State or the United States…” it is necessary that the phone or other

                                  20   facility of interstate commerce be used with the intent that the murder in question be committed,

                                  21   meaning after such use. Would use of a phone or facility after the murder be sufficient? Quote

                                  22   authorities.

                                  23

                                  24

                                  25   Dated: May 31, 2022.

                                  26
                                  27
                                                                                                 WILLIAM ALSUP
                                  28                                                             UNITED STATES DISTRICT JUDGE
